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                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS

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  In re: SKAPARS, YVONNE V.                                         Chapter 13
         SSN: xxx-xx-5580                                           Case # 15-11221-JNF
                           Debtor(s)
____________________________________

                             ORDER CONFIRMING CHAPTER 13 PLAN

         The debtor(s) filed an Amended Chapter 13 Plan (the “Plan”) on May 26, 2016. The
debtor(s) filed an Amended Certificate of Service on May 26, 2016, reflecting that the Plan was
served on all creditors and parties in interest. No objections to the confirmation of the Plan were
filed, or all objections were overruled by the Court or resolved by the parties. Upon consideration
of the foregoing, the Court hereby orders the following:

       1. The Plan is confirmed. The term of the Plan is 60 months.
        2.       The debtor(s) shall pay to the Chapter 13 Trustee the sum of $650.00* per month
commencing April 01, 2015 which payments shall continue through the completion of the Plan and
shall be made on the 1st day of each month unless otherwise ordered by the Court. Payments shall
be made by Money Order or Bank Treasurer’s check (personal checks will not be accepted) and
shall be made payable to and forwarded to: Carolyn Bankowski, Esq. Chapter 13 Trustee, P.O. Box
1131, Memphis, TN 38101-1131.

        3. The effective date of confirmation of the Plan is April 01, 2015. The disbursements to
be made by the Chapter 13 Trustee pursuant to the confirmed plan are set forth on the attached
summary which is incorporated by reference. Interested parties should consult the detailed
provisions of the Plan for treatment of their particular claims and other significant provisions of the
Plan. Unless otherwise ordered by the court, all property of the estate as defined in U.S.C.§§ 541
and 1306, including, but not limited to, any appreciation in the value of real property owned by the
debtor as of the commencement of the case, shall remain property of the estate during the term of
the plan and shall vest in the debtor(s) only upon discharge. All property of the estate shall remain
within the exclusive jurisdiction of the bankruptcy court. The debtor(s) shall not transfer, sell or
otherwise alienate property of the estate other than in accordance with the confirmed plan or other
order of the bankruptcy court. The debtor shall be responsible for preserving and protecting
property of the estate.

*As of April 30, 2016, the Debtor has paid the amount of $5,496.00 to the Trustee. Commencing
May 01, 2016 and on the 1st of each month thereafter the Debtor shall pay the amount of $650.00
per month to the Trustee for the remaining 47 months of the plan.


Dated: ________________                                  ________________________________
                                                         United States Bankruptcy Judge
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                                UNITED STATES BANKRUPTCY COURT
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   In re: SKAPARS, YVONNE V.                                        Chapter 13
          SSN: xxx-xx-5580                                          Case # 15-11221-JNF
                            Debtor(s)
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                   SUMMARY OF DISBURSEMENTS TO BE MADE UNDER THE PLAN

          1.    Modified Secured Claims

NONE
______________________________________________________________________________________

          2.    Unmodified Secured Claims

Champion Mortgage (Champion) – is retaining its lien on 122 Oakmont Road, Yarmouth, MA. The Debtor(s)
shall continue to make regular monthly payments in accordance with the contract with Champion. Champion
shall be paid its pre-petition arrears in the amount of $10,644.78 over 60 months in the amount of $177.41 per
month through the plan.
______________________________________________________________________________________

          3.    Administrative Claims

NONE
______________________________________________________________________________________

          4.    Priority Claims

NONE
_______________________________________________________________________________________

          5.    Unsecured Claims

The holders of unsecured claims total $50,928.10* and shall receive a dividend no less than 42.7977%.
* This sum includes the following unsecured ‘non-dischargeable’ student loan claim(s) of Navient/Blue Ridge
  in the amount of $15,341.70 and Dept. of Ed./Navient in the amount of $20,728.65.
_______________________________________________________________________________________

          6.    Other Pertinent Provisions

NONE
